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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION


    BROOKE CHAMPAGNE &
    MARICO THOMAS,
                                                     COMPLAINT FOR DAMAGES
                        Plaintiffs,                  AND INJUNCTIVE RELIEF
        v.
                                                     JURY DEMAND
    LINEBARGER GOGGAN BLAIR &
    SAMPSON, LLP,

                        Defendant.



                         I.      PRELIMINARY STATEMENT

       1.      Under Iowa law, people who are charged with misdemeanors are

often required to reimburse the state for certain costs and fees associated with a

case. See, e.g., Iowa Code § 815.9.1 The plaintiffs in this lawsuit are two low-

income Iowans who allegedly owe court debt to the State of Iowa arising from

misdemeanor cases. This lawsuit concerns the collection of that court debt by

Linebarger Goggan Blair & Sampson, LLP (“Linebarger”), a private debt

collection company.




1
  Unless otherwise noted, Iowa Code citations herein are to the version in effect as of the date
this complaint was filed.
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       2.     Linebarger, a law firm, is the sole private company collecting court

debt in Iowa and one of the nation’s largest collectors of debt owed to public

entities. With at least 2,300 governmental clients nationwide, the firm collects over

$1 billion in government debt annually. In 2015, Linebarger was the subject of an

award-winning investigative series by CNN Money, which revealed the firm’s

practice of threatening debtors with arrest and jail, among other things. The CNN

Money articles are available at https://money.cnn.com/interactive/pf/debt-

collector/above-the-law-summary/.

       3.     In 2010, Linebarger contracted with the Iowa Judicial Branch to

collect outstanding court debt for the state. That contract, which was continually

renewed on a month-to-month basis and will likely remain in effect through

December 2020, is attached as Exhibit 1; see also Iowa Code § 602.8107(5).2

       4.     Under Iowa law, a private debt collector can be paid a collection fee

of “up to twenty-five percent of the amount of the court debt.” Iowa Code

§ 602.8107(5)(b). Linebarger’s contract with the Iowa Judicial Branch provides


2
  In June 2020, the Iowa Legislature passed Senate File 457 (“SF 457”), which amended a
number of Iowa Code provisions governing the imposition and collection of court debt. See 2020
Ia. Legis. Serv. S.F. 457; Lee Rood, Critics Say Law Touted as Reforming Court Fines and Fees
Will be a Civil Rights Setback, DES MOINES REG., June 25, 2020, at
https://www.desmoinesregister.com/story/news/2020/06/25/iowa-criminal-financial-sentencing-
reform-court-fees-fines-black-lives-matter-defendant-civil-rights/3251825001/. Pursuant to SF
457, effective January 1, 2021, all court debt that would have been assigned to Linebarger for
collection will instead be assigned to the Department of Revenue. See 2020 Ia. Legis. Serv. S.F.
457 at Sec. 87. It is not clear whether Linebarger will continue to collect the debt already
assigned to it.


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that “[e]ach month, Judicial will pay Linebarger collection fee of 25% on the

amount of Assigned Court Debt that Judicial actually received during the prior

month.” Exhibit 1 at 15.

       5.     Linebarger’s collection fees are paid by the debtors themselves. When

the company sends collection notices to Iowans who allegedly owe court debt,

Linebarger adds the maximum collection fee allowed by statute—twenty-five

percent—to each debt and instructs debtors to pay the total amount to the state

without differentiating the underlying debt from the collection fees.

       6.     Between 2012 and 2018, Linebarger collected more than $58.6

million in court debt from Iowans pursuant to the company’s contract with the

Judicial Branch. During the same time period, Linebarger—which employs just

two attorneys licensed in Iowa—received nearly $12 million in collection fees.3

       7.     As is true in many other states, people in Iowa who are provided with

appointed counsel because they are too poor to afford a lawyer are often billed



3
  Compiled from: Iowa Judicial Branch, 2012 Accounts Receivable Report,
https://www.legis.iowa.gov/docs/publications/DF/662172.pdf; Iowa Judicial Branch, 2013
Accounts Receivable Report: https://www.legis.iowa.gov/docs/publications/DF/662390.pdf;
Iowa Judicial Branch, 2014 Accounts Receivable Report,
https://www.legis.iowa.gov/docs/publications/DF/662172.pdf; Iowa Judicial Branch, 2015
Accounts Receivable Report, https://www.legis.iowa.gov/docs/publications/DF/711087.pdf;
Iowa Judicial Branch, 2016 Accounts Receivable Report,
https://www.legis.iowa.gov/docs/publications/DF/799090.pdf; Iowa Judicial Branch, 2017
Accounts Receivable Report, https://www.legis.iowa.gov/docs/publications/DF/860848.pdf;
Iowa Judicial Branch, 2018 Accounts Receivable Report,
https://www.legis.iowa.gov/docs/publications/DF/969685.pdf.


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later for their own indigent defense fees. See Iowa Code §§ 815.9(3)-(9). This is

true not only when a person is found guilty of committing a crime but also in

criminal cases that do not result in a conviction, as well as in certain non-criminal

matters such as child welfare proceedings or civil contempt. As of June 30, 2017,

appointed counsel fees accounted for almost one quarter of all outstanding court

debt owed to the state through Iowa’s Judicial Branch—nearly $170 million. See

Legis. Serv. Agency, Issue Review: Court Debt Collection at 4 (Jan. 3, 2018), at

https://www.legis.iowa.gov/docs/publications/IR/916685.pdf.

       8.      Before June 25, 2020, a defendant who was convicted of or pled

guilty to a criminal charge could also be required to reimburse the state for certain

“court costs” specified by statute, provided the court found that she had the

reasonable ability to pay them. See Iowa Code § 602.8106(1)(d); id. § 910.2.4

Generally speaking, court costs other than attorney fees cannot be assessed in a

criminal case absent a conviction. State v. Dudley, 766 N.W.2d 606 (Iowa 2009).

       9.      In the proceedings on their misdemeanor charges, Plaintiffs Brooke

Champagne and Marico Thomas accepted the services of a state-appointed lawyer

in exchange for an obligation to reimburse the state for the cost of those services.


4
  SF 457 modified some provisions of Iowa Code Chapter 910 relative to ability to pay
proceedings. For example, defendants must now affirmatively raise ability to pay or risk waiving
their right to challenge the amount of court debt imposed. See Iowa Code § 910.2A (eff. date
June 25, 2020). But the modified provisions were not in effect at the time Plaintiffs’ cases were
resolved and thus are not relevant here.


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When their underlying cases were resolved, the courts ordered each of them to pay

appointed counsel fees. The Iowa Judicial Branch assigned Plaintiffs’ alleged court

debt to Linebarger for collection, and Plaintiffs received collection letters from

Linebarger.

      10.     Because each Plaintiff incurred an “obligation or alleged

obligation . . . to pay money arising out of a transaction in which the . . . services

which [we]re the subject of the transaction are primarily for personal . . .

purposes,” rather than business purposes, the debts each Plaintiff allegedly owes

for appointed counsel fees are “debts” under the Fair Debt Collection Practices Act

(FDCPA). 15 U.S.C. § 1692a(5). For similar reasons, these obligations are also

“debts” under the Iowa Debt Collection Practices Act (IDCPA). See Iowa Code

§ 537.7101 et seq.

      11.     The tactics Linebarger has used to collect the debt Plaintiffs allegedly

owe from appointed counsel fees violate both the FDCPA and the IDCPA.

Linebarger’s letters fail to itemize the debts or provide verification rights notices.

They also mischaracterize the amounts owed and contain false and misleading

statements, including threats that failure to pay may result in driver’s license

revocation or contempt of court, which in Iowa can mean arrest and jail. The letters

fail to make clear that a debtor cannot lawfully be jailed for failing to pay court

debt unless a court determines the nonpayment was willful. Plaintiffs seek to


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recover compensatory and statutory damages, attorneys’ fees and costs, and

interest.

       12.   In addition, Linebarger, acting under color of state law and in its

official capacity, deprived Ms. Champagne of property without due process in

violation of 42 U.S.C. § 1983. Under Iowa law, court debt is not enforceable unless

a court has entered a judgment ordering the defendant to pay it. Linebarger’s

collection letters sought to collect fees—including several hundred dollars for the

cost of transporting Ms. Champagne to jail—that were assessed months after the

final disposition of the case, despite the fact that no court had ever entered a

judgment ordering her to pay the fees. Linebarger’s letters falsely stated that a

court had entered an order against Ms. Champagne for this debt, and they

threatened her that she could be jailed if she failed to pay it. Linebarger’s letters

were false, deceptive, and misleading. As a result of the letters, she was coerced

into making payments. She also suffered mental and emotional stress as a result of

the threats made in the letter. Ms. Champagne is entitled to compensatory

damages, costs, and attorneys’ fees, and she also seeks an order enjoining

Linebarger from engaging in extrajudicial collection of court debt.




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                       II.    JURISDICTION AND VENUE

      13.    This Court has jurisdiction over this action under the FDCPA, 15

U.S.C. § 1692k, and 28 U.S.C. § 1331. The Court has supplemental jurisdiction

over claims arising under state law under 28 U.S.C. § 1367.

      14.    In addition, the Court has jurisdiction over the civil rights claim

arising under 42 U.S.C. § 1983 and the Fourteenth Amendment to the United

States Constitution pursuant to 28 U.S.C. § 1331 and § 1343.

      15.    The Court has personal jurisdiction over Linebarger because

Linebarger is registered to do business in Iowa and entered into a contract with the

Iowa Judicial Branch to collect debt throughout the state, including in this district.

      16.    Venue is proper under 28 U.S.C. § 1391(b)(1) and (2) because

Linebarger resides in this district and a substantial part of the events and omissions

giving rise to Plaintiffs’ claims occurred in this district.

                                   III.   PARTIES

      17.     Plaintiff Brooke Champagne resides in Des Moines, Iowa. She is a

“consumer” as that term is defined by 15 U.S.C. § 1692a(3) and a “debtor” as

defined in Iowa Code § 537.7102(6).

      18.    Plaintiff Marico Thomas resides in Cedar Rapids, Iowa. He is a

“consumer” as that term is defined by 15 U.S.C. § 1692a(3) and a “debtor” as

defined in Iowa Code § 537.7102(6).


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      19.    Defendant Linebarger Goggan Blair & Sampson, LLP is a law firm

organized as a limited liability partnership under Texas law with its headquarters in

Texas. Linebarger is registered to do business in Iowa and collects court debt

across Iowa under its contract with the Iowa Judicial Branch, including debt arising

from misdemeanor proceedings in Delaware, Des Moines, Humboldt, and Jasper

Counties.

      20.    Linebarger is a debt collection company that operates in Iowa and

across the United States collecting debt allegedly owed to public sector creditors.

The principal purpose of Linebarger’s business is the collection of government

debt using the mails and phone calls. Linebarger regularly collects and attempts to

collect, directly and indirectly, debt alleged to be due another. It is therefore a

“debt collector” within the meaning of 15 U.S.C. § 1692a(6) and Iowa Code

§ 537.7102(5).

      21.    Linebarger is also engaged in state action under color of law for

purposes of 42 U.S.C. § 1983. Since 2010, Iowa law has required any county

where the county attorney has not affirmatively elected to collect court debt to

assign that debt to a “private collection designee” for collection. Iowa Code

§ 602.8107(3). Under that statutory authority, Linebarger has had an exclusive

contract with the Iowa Judicial Branch since 2010 to act as the sole private

collection designee collecting court debt allegedly owed to the State. The


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collection of court debt is traditionally and historically a function of the State that

the Judicial Branch delegated to Linebarger. The State benefits from the actions of

its delegee in that Linebarger’s business practices allow the State to save costs it

would otherwise incur in collecting its own court debt.

                             IV.     STATEMENT OF FACTS

A.     Imposition and Collection of Court Debt in Iowa

       1) Iowa law limits the court debt that may be imposed on criminal
          defendants

       22.     Under Iowa law, only court debt expressly authorized by statute may

be imposed on a defendant. Woodbury County v. Anderson, 164 N.W.2d 129, 135

(Iowa 1969); State v. Watson, 795 N.W.2d 94, 96 (Iowa Ct. App. 2011).

       23.     In addition to requiring statutory authority, court debt in Iowa is

enforceable only if a court has entered an order or judgment requiring the

defendant to pay the debt. See State v. Davis, 944 N.W.2d 641, 642 (Iowa 2020).

Unless it has been reduced to a judgment, court debt may not lawfully be collected.

       24.     Iowa law defines “court debt” as “all restitution, fees, and forfeited

bail.” Iowa Code § 602.8107(1)(a).5



5
  Before it was amended in June 2020, Iowa Code § 602.8107(1)(a) defined “court debt” as “all
fines, penalties, court costs, fees, forfeited bail, surcharges under chapter 911, victim restitution,
court-appointed attorney fees or expenses of a public defender ordered pursuant to section 815.9,
or fees charged pursuant to section 356.7 or 904.108.” Section 356.7 addresses sheriff’s fees for
room and board at jail and other administrative costs related to jail; section 904.108 addresses
correctional fees related to prison.


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          25.    Iowa law uses the term “restitution” to refer to any court debt entered

in connection with a criminal conviction, not just victim restitution. There are two

categories of “restitution” under Iowa law. The first category includes victim

restitution and restitution to the clerk of court for fines, penalties and surcharges.

Courts may order convicted defendants to pay this kind of restitution without

regard to ability to pay. See Iowa Code § 910.2(1); State v. Davis, 944 N.W.2d at

644-45.

          26.    The second category of restitution includes court costs and appointed

counsel fees, as well as other types of charges. Iowa Code § 910.2(1)(c)(3). Only

this second category of restitution is relevant in this case. In cases resolved before

June 25, 2020, a court could order a defendant to pay this type of restitution only

when “all such items are before the court and the court has then made a reasonable-

ability-to-pay determination.” State v. Gross, 935 N.W.2d 695, 702 (Iowa 2019);

Iowa Code § 910.2(1)(a)(2).6

          27.    Court costs may include filing or docketing fees and other expenses

incurred by the state or county. For example, “[w]hen judgment is rendered against

the defendant,” the clerk of court may collect court costs from the defendant to

reimburse the county that prosecuted the criminal case. Iowa Code




6
    Ability to pay is handled differently in cases resolved after June 25, 2020. See n. 4 above.


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§ 602.8106(1)(a). The court costs for a simple misdemeanor are set at sixty dollars.

Id. at § 602.8106(1)(d).

       28.     In addition to court costs, until June 25, 2020, a convicted defendant

could be required to reimburse the sheriff for “room and board” for time spent in

jail and/or “administrative costs relating to the arrest and booking” of the

defendant as part of her court-ordered restitution. See Iowa Code § 356.7(1)

(2019).7

       2) Imposition and collection of appointed counsel fees

       29.     In Iowa, an accused in a misdemeanor criminal prosecution who faces

the possibility of imprisonment under the applicable criminal statute is

automatically entitled to appointed counsel if her income level is “at or below one

hundred twenty-five percent of the United States poverty level as defined by the

most recently revised poverty income guidelines published by the United States

department of health and human services.” Iowa Code § 815.9(1)(a); see also State

v. Young, 863 N.W.2d 249, 281 (Iowa 2015). But a person who elects to receive

the assistance of counsel is then “required to reimburse the state for the total cost

of legal assistance,” including “not only the expense of the public defender or an

appointed attorney, but also transcripts, witness fees, expenses, and any other



7
 After June 25, 2020, the new version of Iowa Code § 356.7 requires that sheriff's fees be
assessed and collected through separate civil actions, rather than as restitution or court debt.


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goods or services required by law to be provided to an indigent person entitled to

an appointed attorney.” Iowa Code § 815.9(3).

      30.    A person who accepts the services of appointed counsel must typically

complete a financial affidavit. Iowa’s Rules of Criminal Procedure provide a

standard form for this purpose: the Financial Affidavit and Application for

Appointment of Counsel. See Iowa R. Civ. P. 2.32-Form 1. The form, which

defendants are required to sign, states: “I understand I may be required to repay the

state for all or part of my attorney fees and costs, I may be required to sign a wage

assignment, and I must report any changes in the information submitted on this

financial affidavit. I promise under penalty of perjury that the statements I make in

this application are true, and that I am unable to pay for an attorney to represent

me.” Id.

      31.    There are significant differences between how urban and rural

defendants in Iowa experience appointed counsel fee debt. In urban counties,

people needing appointed counsel are often represented by public defenders, who

tend to charge a minimal amount for their services, and their court debt is typically

collected by county attorneys, who do not charge fees for collection. But low-

income people living in rural counties outside the jurisdiction of Iowa’s public

defender’s offices are represented by contract attorneys, who almost always submit

significantly higher fee petitions than their public defender counterparts.


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      32.    Because the higher costs of the contract attorneys’ services are then

passed onto their clients, criminal defendants in rural counties are more likely to

owe significant debt in appointed counsel fees than defendants in urban counties.

Court debt in rural counties is also more likely to be assigned to Linebarger for

collection rather than to county attorneys. These debtors must then pay additional

collection fees to Linebarger. As a result, people in rural counties tend to be

saddled with significantly higher debt—in both appointed counsel fees and

collection fees—than similarly-situated people in urban counties.

      33.    Defendants are commonly billed for appointed counsel fees regardless

of the outcome of the case. If a criminal defendant is convicted of or pleads guilty

to the underlying charge, the court “shall order the payment of such amounts as

restitution, to the extent to which the person is reasonably able to pay, or order the

performance of community service in lieu of such payments.” Iowa Code

§ 815.9(5); see also id. § 910.2(1)(a)(2).

      34.    If the defendant is acquitted, or if the charge is dismissed, she may

still be required to reimburse the state for the cost of her appointed counsel “to the

extent the person is reasonably able to pay, after an inquiry which includes notice

and reasonable opportunity to be heard.” Iowa Code § 815.9(6). If the defendant

fails to pay the debt, the court may enter a judgment, which the state can then

enforce against the defendant “in the same manner as a civil judgment.” Id.


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§ 815.9(7). Under Iowa law, civil judgments “requiring the payment of money . . .

are to be enforced by execution.” Id. § 626.1.

      35.    If a defendant was not convicted of the underlying charge, the state

may not lawfully bring contempt proceedings against her for nonpayment of

appointed counsel fees. State v. Sluyter, 763 N.W.2d 575, 582 (Iowa 2009); LaRue

v. Burns, 268 N.W.2d 639, 641 (Iowa 1978).

      36.    Generally speaking, the amount of counsel fees is rarely known at the

time of sentencing or other disposition of a case. This is because there are several

steps before the possible amount of appointed counsel fees becomes a sum certain.

See generally Iowa Admin. Code (“IAC”) r. 493-12. First, the appointed counsel

must file a claim. IAC r. 493-12.2. This is almost never done before sentencing or

disposition, because counsel is still working and accruing fees. Next, the State

Public Defender (SPD) may approve or deny the claim in whole or in part. Id.

Disputes between appointed counsel and SPD may in rare circumstances be subject

to administrative appeal and court review. IAC r. 493-12.9. Once the claim is

actually paid, it is the longstanding practice of the SPD to send a list itemized by

case to each county once per month, showing what was actually paid out in claims

to appointed counsel. Clerks then input these amounts, provided there is a valid

court order assessing the debt to the defendant and the amounts paid by the SPD

are not limited by any ability-to-pay restrictions set out by court order.


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      3) Collection of court debt is historically and traditionally a
         government function

      37.    Court debt in Iowa is “owed and payable to the clerk of the district

court.” Iowa Code § 602.8107(2). By statute, the clerk of each court has the duty to

collect fines, court costs, and fees and remit the money to the appropriate

governmental entity. See id. § 602.8106.

      38.    Historically, the collection of delinquent court debt in Iowa was

exclusively and traditionally the province of the government, although the specific

entities and agencies engaged in collection have varied over time. In 1991, with the

passage of the Collection of Delinquent Criminal Fines and Court Costs Act,

county attorneys were authorized to collect delinquent court debt. County attorneys

retained 35% of what they collected, with the remainder going to the state general

fund. H.F. 697, 74th Gen. Assemb. (Iowa 1991).

      39.    In 1993, the legislature passed the OWI Fine Increase, Mandatory

Minimum Fines, and Community Service Act, which “shifted some of the

responsibilities for the collection of delinquent fines, fees, and penalties to the

Clerks of District Court” and “allowed the Department of Revenue” (IDR) to

collect delinquent court debt that was not being collected by county attorneys. S.F.

370, 75th Gen. Assemb. (Iowa 1993). While the law “added private attorneys to the

list of persons county attorneys could contract with for collection services,”

governmental agencies retained primary control over collection of court debt. See


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id. at 3–4. In 1995, authority was given to the Centralized Collection Unit (CCU)

of IDR to issue levies against the accounts of people in debt to the state. H.F. 549,

76th Gen. Assemb. (Iowa 1995).

      40.    In 2010, in response to a judicial funding crisis during the last

recession, the Iowa Legislature instituted an aggressive debt collection program in

the form of new legislation. S.F. 2383, Iowa 83rd Gen. Assemb. (Iowa 2010).

Under the new law, referral of debt to CCU after 30 days of delinquency became

mandatory rather than discretionary. Iowa Code § 364.22B. Although not provided

by statute or rule, CCU by fiat charged a 10% collection fee on top of the

underlying debt. In counties where the county attorney had elected to serve as a

court debt collector, CCU was then mandated to assign the debt to the county

attorney after 60 days if the debtor’s account had not been placed into a payment

plan. Also, for the first time, the new law mandated that the CCU assign delinquent

debt in counties not served by county attorney collection to a private collection

agency after 365 days delinquency. In December 2010, the Iowa Judicial Branch

entered into a contract with Linebarger permitting the firm to collect 25% of the

balance owed as a fee.

      41.    After a few more legislative changes changing the order of priority for

assigning debt to the CCU, Linebarger, and the county attorneys, the law changed

in 2015 by removing CCU from the collection process entirely. S.F. 510, 86th Gen.


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Assemb. (Iowa 2015). This bill also provided that Linebarger would be assigned

debt from all 99 counties in Iowa. In counties where the county attorney had

elected to collect court debt, Linebarger would then have to refer cases if the

debtor had not entered a payment plan within 60 days of assignment to Linebarger.

      42.    In 2016, the delinquency collection system was simplified further to

allow for two possible options for collection once court debt becomes delinquent.

S.F. 2316, 86th Gen. Assemb. (Iowa 2016). In counties where the county attorney

has elected to collect court debt, debt is assigned directly to the county attorney

after delinquency. In other counties, delinquent court debt is sent directly to the

private collection designee, Linebarger. Iowa Code § 602.8107. That system

essentially remained the same over the next four years.

      43.    Under the 2016 law, which remains in effect today, court debt in

roughly one third of Iowa counties—including Delaware, Des Moines, Humboldt,

and Jasper Counties—that has not been paid within 30 days of disposition and is

not subject to a court-ordered installment plan is deemed delinquent and assigned

by the clerk to Linebarger to collect. See Iowa Code § 602.8107(3); Exhibit 1 at

13. In other counties, the debt is assigned to the county attorney for collection. See

Iowa Code § 602.8107(2)(d).

      44.    On June 25, 2020, Governor Kim Reynolds signed into law Senate

File 457, which makes sweeping changes to the imposition and collection of court


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debt in Iowa. Under the new law, starting January 1, 2021, court debt that would

have been assigned to Linebarger for collection will now once again be collected

by IDR. See 2020 Ia. Legis. Serv. S.F. 457 at Sec. 87.

      4) Linebarger’s contract with the Iowa Judicial Branch

      45.    Since 2010, Iowa law has required counties to assign delinquent court

debt for collection to a “private collection designee.” Iowa Code § 602.8107(3).

Pursuant to that statutory authority, in 2010 Linebarger entered into an exclusive

Court Debt Collection Contract with the Iowa Judicial Branch to act as the sole

private collection designee collecting court debt allegedly owed to the State of

Iowa. See Exhibit 1. This contract has been continually renewed on a month-to-

month basis and will likely remain in effect through December 2020.

      46.    The contract incorporates two bidding documents: the State’s Court

Debt Collection Services Provided by Law Firms Request for Proposal, RFP No.

2010-10, and Linebarger’s proposal in response to that RFP. Exhibit 1 at 1.

      47.    The contract expressly requires that Linebarger “comply with all

applicable federal, state, and local laws, rules, ordinances, regulations, and orders

when performing services under this contract.” Exhibit 1 at 9.

      48.    The contract provides for the assignment of court debt to Linebarger

for collection. See Exhibit 1 at 13-14. The contract expressly states: “If during the

collection of an assigned debt, Linebarger is not satisfied that the debtor owes the



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debt or if the debtor disputes the amount owed, Judicial will attempt to verify

promptly the liability and provide that information to Linebarger. During this

verification period, Linebarger may suspend any active collection activity on that

account.” Id. at 14.

       49.    The contract provides that the Judicial Branch will pay Linebarger a

“collection fee of 25% on the amount of Assigned Court Debt that Judicial actually

received during the prior month.” Exhibit 1 at 2, 15. This fee “will be added to the

Assigned Court Debt,” meaning Linebarger adds its collection fee to the

underlying debt it collects from debtors such as Plaintiffs. Id. at 15.

       50.    The contract provides that “because Linebarger is trying to collect on

debts owed to the State of Iowa, Judicial will waive any filing fees for collection

activities filed in Iowa courts.” Exhibit 1 at 15.

B.     Brooke Champagne’s Experience
       51.    Brooke Champagne is 45 years old. She grew up in Iowa and

currently lives in Des Moines, where she works full time in a Hy-Vee grocery store

deli earning about $14 an hour. In addition to working at the deli, where she is in

charge of ordering and cutting specialty cheeses, Ms. Champagne is currently

enrolled in the Cheese Specialist Program at Hy-Vee University and has completed

the first of three training levels. After finishing all three levels, she will be eligible

to take a final exam to earn her Certified Cheese Professional credential. Before



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working at Hy-Vee, in 2015 Ms. Champagne earned her diploma for

microcomputer applications and information technology from Indian Hills

Community College.

      52.    Ms. Champagne, who suffered from alcohol and substance abuse in

the past, has worked hard to get her life back on track. She is in recovery and has

been sober for more than 620 days. Since being discharged from an in-patient

treatment program in November 2019, she has lived at a recovery house with six

other women, where she continues to strive towards a healthy lifestyle.

      53.    Ms. Champagne accrued court debt in relation to several minor

offenses she committed in the past while under the influence of drugs and alcohol.

Due to chronic substance abuse, time in jail, poverty, and homelessness, she was

unable to make payments for a long period of time. During the past several

months, however, Ms. Champagne has faithfully made regular payments to the

state of Iowa towards the debts Linebarger is collecting, as well as other court debt.

      1) Collection of debt related to 2013 Jasper County Case

      54.    On October 4, 2013, in Jasper County, Iowa, Ms. Champagne was

walking down the street by herself when a police officer stopped her, asked for her

information, and detained her. Although she passed a breathalyzer, she was

arrested and charged with “simulated public intoxication,” a simple misdemeanor

and a violation of Iowa Code § 123.46 (Case No. SMAC011891). Because she



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could not afford an attorney, she accepted the services of court-appointed contract

counsel Jane Odland. Exhibit 2. The Application for Appointment of Counsel form

that Ms. Champagne signed states: “I understand I may be required to repay the

State for my attorney fees and costs[].” Exhibit 3.

       55.    On December 18, 2013, Ms. Champagne entered a guilty plea. Exhibit

4. She was sentenced to pay a $100 fine plus an additional $155 in court costs,

fees, and surcharges, for a total of $255. Exhibit 5.8

       56.    On January 23, 2014, Ms. Champagne’s court debt was designated as

“past due” and sent to CCU / IDR. Exhibit 2. CCU added a collection fee of $3.17.

Exhibit 6.

       57.    On January 28, 2014, an indigent defense claim form was filed in Ms.

Champagne’s case, and a charge of $138 for appointed counsel fees was added to

her court debt, bringing her total debt for this case to $396.17. Exhibit 6.

       58.    Ms. Champagne began making payments towards this court debt in

November 2014. By February 8, 2015, she had paid $85, with $311.17 remaining.

Exhibit 6. On February 15, 2015, the state assigned her outstanding debt to

Linebarger for collection. Exhibit 2. Linebarger then added a 25% collection fee of




8
 The Iowa Courts Online docket shows that the additional charges include $60 in court costs, a
$40 court reporter fee, $20 sheriff’s fee, and $35 state surcharge. Exhibit 6.


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$77.79, bringing Ms. Champagne’s debt back up to $388.96. She made a $25

payment in March 2015, leaving $363.96. Exhibit 6.

      59.      Ms. Champagne has received several collection letters from

Linebarger related to the 2013 Jasper County debt. Most recently, on September

16, 2019, Ms. Champagne received a letter from Linebarger with the number

39442337. This letter states: “WARNING – OUTSTANDING COURT FEES

AND FINES . . . . Court records indicate that the Court has entered an order

against you, and you have unpaid court fees and fines . . . as listed below.” Exhibit

7 (emphasis in original).

      60.      The letter does not itemize the debt or Linebarger’s collection fee,

stating only that the “amount due” related to the 2013 Jasper County case is

$363.96. Id.

      61.      The letter further states, “You have failed to respond to our

previous correspondence,” and instructs Ms. Champagne to “return your payment

in the amount of $363.96 . . . immediately.” Id. (emphasis in original). The letter

warns that “[u]ntil the Court receives full payment,” the “State and its Courts” can

bring “enforcement actions” including “contempt of court proceedings” and

“driver [sic] license revocation.” Id.




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      62.    The letter does not include any language stating that Linebarger is

attempting to collect a “debt” or that any information obtained will be used for that

purpose.

      63.    Ms. Champagne has paid $210 towards the 2013 Jasper County debt,

including $100 since receiving the September 16, 2019 letter. Exhibit 6.

      2) Collection of debt related to 2015 Humboldt County case

      64.    On September 4, 2015, in Humboldt County, Ms. Champagne was

charged with disorderly conduct, a simple misdemeanor in violation of Iowa Code

§ 664A.7(5), and violating a no-contact or protective order, a simple misdemeanor

in violation of Iowa Code § 723.4(2) (Case No. SMCR009978). These charges

arose from a phone call she made to her mother from jail. Because she could not

afford an attorney, she accepted the services of court-appointed contract counsel

Daniel Feistner. Exhibit 8. The Application for Appointment of Counsel that Ms.

Champagne signed states: “I understand I may be required to repay the State for all

or part of any attorney fees and costs[].” Exhibit 9.

      65.    On October 6, 2015, Ms. Champagne entered a guilty plea to the

protective order charge, and the State agreed to recommend that the court dismiss

the disorderly conduct charge. Exhibit 10.

      66.    On October 12, 2015, the Iowa District Court for Humboldt County

entered judgment in her case. The court sentenced Ms. Champagne to serve 48



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hours in jail within 60 days of sentencing, with credit for time served, and to one

year of probation. The court’s sentencing order provided that Ms. Champagne

would “NOT be fined in this case” but that she “shall pay court appointed attorney

fees” and court costs. Exhibit 11. The order stated that she had “waived any

hearing on her ability to pay attorney fees in this matter.” Id. Ms. Champagne did

not waive her right to an ability-to-pay assessment with respect to any other costs

or fees. The Iowa Courts Online docket shows that $60 in court costs was added to

her debt.9 Exhibit 12.

       67.     On November 13, 2015, the outstanding debt Ms. Champagne owed

to the state was assigned to Linebarger for collection. Exhibit 8. On December 15,

2015, the SPD submitted an indigent defense claim form in the amount of $226,

indicating this amount had been approved and paid to Ms. Champagne’s appointed

counsel. Id. The appointed counsel fees were added to Ms. Champagne’s court

debt, bringing the total amount she owed to $286.00.

       68.     On January 25, 2016, the Humboldt County Attorney filed an

application for mittimus to require Ms. Champagne to serve the remaining time left


9
  In 2019, the Iowa Supreme Court reiterated the long-standing rule that district courts may not
order a criminal defendant to pay restitution for court costs or appointed counsel fees without
first determining that the defendant has the means to pay those costs. State v. Albright, 925
N.W.2d 144, 159, 161-62 (Iowa 2019). Before Albright, however, as in Ms. Champagne’s case,
courts regularly sentenced defendants to pay costs and fees in amounts to be determined after
sentencing and without evaluating ability to pay, in spite of statutory language to the contrary
and decades of prior precedent. See e.g. State v. Haines, 360 N.W.2d 791 (Iowa 1985); Iowa
Code § 910.2 (ability to pay language first codified in 1982).


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in her 48-hour sentence. Exhibit 8. That same day, the Humboldt County District

Court issued an Order for Mittimus directing the clerk to issue a warrant for her

arrest. The order stated: “Once the Defendant is apprehended, the Defendant shall

serve any time remaining on the Defendant’s mittimus, and shall pay the Humboldt

County Jail’s room and board cost of $50.00 per day.” The order made no mention

of any other costs. Exhibit 13.

          69.    On February 23, 2016, Ms. Champagne was arrested in Burlington

and taken to the Des Moines County Jail. The Humboldt County Sheriff then

transported her to Humboldt County Jail, where she was held overnight and

released the following day. The sheriff filed an Application for Room and Board

Fees requesting reimbursement of a $50 “room and board” charge for Ms.

Champagne’s one night in jail. Exhibit 8. On February 24, 2016, the court issued

an order approving the sheriff’s claim for reimbursement of the $50 room and

board charge and ordering the clerk to enter judgment against Ms. Champagne for

that amount. Exhibit 14; see Iowa Code § 356.7(1) (2019).10

          70.    The sheriff also submitted a return of service requesting payment of

$474.70 for the cost of transporting Ms. Champagne to Humboldt County Jail.

Exhibit 15. There is no record of the court approving this claim, and the court

never entered a judgment against Ms. Champagne requiring her to pay the

10
     See ¶ 28, above.


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transportation costs. Exhibit 8. Nonetheless, the Iowa Courts Online docket shows

that on February 23, 2016, a fee of $474.70 was added to Ms. Champagne’s court

debt. Id.; Exhibit 12.

       71.    The docket also shows that on February 24, 2016, the Humboldt

County Sheriff filed a Return of Mittimus, and an additional $15 fee appeared on

the docket. Exhibit 8; Exhibit 12. As with the transportation costs, the court did not

enter a judgment requiring Ms. Champagne to pay the fee. Id. The addition of the

transportation and mittimus fees brought Ms. Champagne’s total alleged court debt

for this case to $825.70, to which Linebarger added a 25% collection fee of

$206.43.11

       72.    Ms. Champagne has received numerous letters from Linebarger

related to the 2015 Humboldt County debt. On September 16, 2019, Ms.

Champagne received a letter from Linebarger with the number 40860109. This

letter states: “WARNING – OUTSTANDING COURT FEES AND FINES . . . .

Court records indicate that the Court has entered an order against you, and you

have unpaid court fees and fines . . . as listed below.” Exhibit 16.

       73.    The letter does not itemize the debt or Linebarger’s collection fee,

stating only that the “amount due” related to the 2015 Humboldt County case is


11
  Linebarger’s 25% fee consists of four separate charges: $18.75 (25% of the $60 court costs
and $15 mittimus fee), $56.50 (25% of the $226 counsel fees); $118.68 (approx. 25% of the
$474.70 sheriff’s transport fees); and $12.50 (25% of the $50 room and board fee). Exhibit 12.


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$1,032.13. That amount includes the $474.70 transportation fee and the $15

mittimus fee even though Ms. Champagne does not legally owe those debts

because the court never entered a judgment imposing those fees.

      74.    The letter further states, “You have failed to respond to our

previous correspondence,” and instructs Ms. Champagne to “return your payment

in the amount of $1,032.13 . . . immediately.” Id. (emphasis in original). The letter

warns that “[u]ntil the Court receives full payment,” the “State and its Courts” can

bring “enforcement actions” including “contempt of court proceedings” and

“driver [sic] license revocation.” Id.

      75.    The letter does not include any language stating that Linebarger is

attempting to collect a “debt” or that any information obtained will be used for that

purpose.

      76.    Ms. Champagne has paid $200 towards this 2015 Humboldt County

debt, and some of her payments have been allocated towards the collection fee

Linebarger added to the sheriff’s transportation fees. Exhibit 12.

      3) Collection of debt related to 2016 Des Moines County Case

      77.    On January 19, 2016, in Des Moines County, Ms. Champagne was

charged with theft in the fifth degree for allegedly taking a coffee pot and some

light bulbs valued at $30 from her hotel room, a simple misdemeanor in violation

of Iowa Code § 714.2(5) (Case No. SMSM038780). Because she could not afford



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an attorney, she accepted the services of court-appointed contract attorney Shane

Wiley.

      78.    On February 19, 2016, Ms. Champagne entered a guilty plea. Exhibit

17. She was sentenced to 30 days in jail, with all but five days suspended, and to

one year of unsupervised probation, and ordered to pay a $65 fine, $60 in court

costs, a Law Enforcement Initiative Surcharge of $125, plus additional surcharges

and indigent defense fees in an amount to be assessed later. Id. The sentencing

order did not include any finding of ability to pay. Id. The Iowa Courts Online

docket shows that a surcharge of $22.75 was added, bringing her debt for this case

to $272.75. Exhibit 18.

      79.    On March 22, 2016, Ms. Champagne’s debt was assigned to

Linebarger for collection. Exhibit 19. On April 1, 2016, an indigent defense claim

form was filed in her case, and counsel fees and costs of $108.49 were added to her

debt, bringing the total court debt for this case to $381.24. Id. Exhibit 18.

Linebarger added a 25% collection fee of $95.31. Id.

      80.    On September 16, 2019, Ms. Champagne received a letter from

Linebarger with the number 42514743. This letter states: “WARNING –

OUTSTANDING COURT FEES AND FINES . . . . Court records indicate that

the Court has entered an order against you, and you have unpaid court fees and

fines . . . as listed below.” Exhibit 20 (emphasis in original).


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       81.     The letter does not itemize the debt or Linebarger’s collection fee,

stating only that the “amount due” related to the 2016 Des Moines County theft

case is $476.55. Id.

       82.     The letter further states, “You have failed to respond to our

previous correspondence,” and instructs Ms. Champagne to “return your payment

in the amount of $476.55 . . . immediately.” Id. (emphasis in original). The letter

warns that “[u]ntil the Court receives full payment,” the “State and its Courts” can

bring “enforcement actions” including “contempt of court proceedings” and

“driver [sic] license revocation.” Id.

       83.     The letter does not include language stating that Linebarger is

attempting to collect a “debt” or that any information obtained will be used for that

purpose. Id.

       84.     Ms. Champagne has paid $150 towards this debt since receiving the

September 2019 letter, and she and continues to make regular payments. Exhibit

18.

       4) Ms. Champagne’s finances and fear of Linebarger’s threats

       85.     When Ms. Champagne received the debt collection letters from

Linebarger, she was anxious and fearful. Having a law firm coming after her for

these debts was scary and overwhelming. Because she could not afford to pay the

debt, she feared that she would be held in contempt of court and jailed. In addition,



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if her driver’s license were revoked, as Linebarger threatened could happen if she

was unable to pay, Ms. Champagne would have to take the bus across town to

work, which would require her to change her work schedule and threaten her

livelihood.

      86.     Now that she is employed and has been sober for well over a year,

Ms. Champagne has been making monthly payments to the state of Iowa towards

her court debt over the past several months, including towards debts Linebarger is

collecting. Because she can’t afford to make a payment toward every fine every

month, Ms. Champagne pays $50 towards one or two each month on a rotating

basis. She also makes payments towards other court debt Linebarger is not

collecting, for a total of about $200 each month. Ms. Champagne considers

acknowledging responsibility for her debt—and working hard to pay it off—an

important part of her program of recovery. In addition to these payments, Ms.

Champagne pays rent and bills for her student loans, car loan, and car insurance.

C. Marico Thomas’s Experience

      87.     Marico Thomas is 36 years old. He has lived in Iowa since 2002 and

currently lives in Cedar Rapids with his wife and four children.

      88.     Since approximately March 2020, Mr. Thomas has worked full-time

as a CNC machine operator at the Paladin Attachments facility in Delhi, where




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attachment tools are manufactured. Before getting that job, Mr. Thomas worked as

a temporary laborer with Ace Concrete Cutting.

       1) Mr. Thomas’s 2016 Delaware County case

       89.   On August 4, 2016, in Delaware County, Iowa, Mr. Thomas got into a

fist fight with a man at a nightclub after the man verbally harassed him and shoved

him. Mr. Thomas was charged with “assault causing bodily injury or mental

illness,” a serious misdemeanor (Iowa Code § 708.2(2)) (Case No. SRCR011435).

He was also charged with three simple misdemeanors (Case No. SMCR011436):

             • Count 1: disorderly conduct (Iowa Code § 723.4(1));

             • Count 2: criminal mischief fifth degree (Iowa Code § 716.6(2));

             • Count 3: assault with no aggravating factors such as bodily injury
               or the intent to cause injury (Iowa Code § 708.2(6)).

       90.   Because Mr. Thomas could not afford an attorney, he accepted the

services of court-appointed contract attorney Daniel Swift. The Application for

Appointment of Counsel that Mr. Thomas signed states: “I understand I may be

required to repay the State for all or part of any attorney fees and costs[].” Exhibit

21.

       91.   On February 1, 2017, Mr. Thomas pled guilty to the disorderly

conduct charge, Count 1 of Case No. SMCR011436, and the District Court for

Delaware County dismissed the two remaining counts in Case No. SMCR011436.

Exhibit 22; Exhibit 23; Exhibit 24.


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       92.     The court also dismissed Case No. SRCR011435, the serious

misdemeanor assault charge, but ruled that Mr. Thomas must pay court costs and

appointed counsel fees. Exhibit 25; Exhibit 26. The court expressly ordered that

Mr. Thomas’ appointed counsel fees for Case No. SRCR011435 were not to

exceed $600. Exhibit 27; Exhibit 26 (ordering Mr. Thomas to pay “court-appointed

attorney fees in the amount of $600 or the amount actually submitted by the State

Public Defender’s office, whichever is less”).12 The docket indicates that the clerk

assessed Mr. Thomas a $600 charge for counsel fees. Exhibit 27.

       93.     Sometime after the disposition of the case, the SPD submitted a list of

paid attorney fee claims to the Delaware County clerk. Exhibit 28. This list shows

that the SPD paid counsel in this case $708 for hourly fees, and $27.18 in

expenses.

       94.     At some point—despite the court’s order that Mr. Thomas’s indigent

defense fees for Case No. SRCR011435 were “not to exceed $600”—additional

charges were assessed in the amounts of $27.18 and $84.00, bringing Mr.

Thomas’s total debt for appointed counsel fees to $711.18 and his total court debt




12
  Mr. Thomas does not recall the court inquiring into his ability to pay $600 in appointed
counsel fees.


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for the case to $811.18.13 Exhibit 29. This amount matched neither the SPD total of

$735.18 nor the court’s limit of $600.

       95.    On April 4, 2017, Mr. Thomas’s debt was assigned to Linebarger for

collection. Linebarger added a 25% fee of $202.80 to the underlying debt, bringing

the total amount allegedly owed to $1,013.98.14

       2) Linebarger’s collection of Mr. Thomas’s debt

       96.    Mr. Thomas first began receiving letters and phone calls from

Linebarger related to the 2016 Delaware County debt in April 2017. He was

surprised. He did not understand why Linebarger was insisting that he owed so

much money—at that time, over $1,300 for three cases including this one. He was

unemployed at the time, and he already owed a significant amount of child support

each month.

       97.    Mr. Thomas contacted the lawyer who had represented him in his

2016 criminal case to ask about the debt. The lawyer explained that Mr. Thomas

was required to reimburse the state for the lawyer’s services. That was the first

time Mr. Thomas understood that he was responsible for paying for the lawyer

who had been appointed for him because he could not afford one.


13
   On May 28, 2020, after Mr. Thomas’s counsel inquired about the additional $111.18 in
appointed counsel fees and costs, a clerk for the Delaware District Court removed the charges
from Mr. Thomas’s court debt, leaving him with $902.80 in alleged court debt.
14
  This fee was added in two separate charges: $46 (25% of $184) and $156.80 (25% of
$627.20). Exhibit 29.


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      98.    Mr. Thomas also called the Delaware County District Court clerk’s

office. He explained that he was unemployed and could not afford to pay the debt.

The clerk responded that there was nothing the court could do because the debt had

been sent to Linebarger and it was out of the court’s hands. The clerk gave him an

email address for Linebarger.

      99.    Mr. Thomas sent an email to Linebarger. In the email, which is

attached as Exhibit 30, he explained that he had received “a letter stating that I owe

collection from a case that I’ve beat because of court cost”; that the letter stated he

owed “over 1300 dollars”; and that he was unemployed and that there was “no way

I can just cough up that kind of money.” Mr. Thomas also wrote that he “was

provided a public attorney because I couldn’t afford one and still I was never

warned that I’ll be asking [sic] to pay over 1300 dollars.” Exhibit 30. Finally, he

wrote that he wanted to contest the charges “because the letter states that my driver

license could be in jeopardy and again I’m unemployed with 4 kids I need my

drivers license to seek employment to provide for my family.” Id. Linebarger did

not respond to the email.

      100. Linebarger’s letters became increasingly threatening over time. For

example, on October 11, 2019, Mr. Thomas received a letter from Linebarger with

the number 44018405. This letter states: “WARNING – OUTSTANDING COURT

FEES AND FINES . . . . Court records indicate that the Court has entered an order


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against you, and you have unpaid court fees and fines . . . as listed below.” Exhibit

31 (emphasis in original).

       101. The letter further states, “You have failed to respond to our

previous correspondence,” and instructs Mr. Thomas to “return your payment in

the amount of $1,013.98 . . . immediately.” Id. (emphasis in original). The letter

warns that “[u]ntil the Court receives full payment,” the “State and its Courts” can

bring “enforcement actions” including “contempt of court proceedings” and

“driver [sic] license revocation.” Id.

       102. The letter does not itemize the debt or Linebarger’s collection fees,

stating only that the amount due related to the 2016 assault case (No.

SRCR011435) is $1,013.98.15

       103. The letter does not include language stating that Linebarger is

attempting to collect a “debt” or that any information obtained will be used for that

purpose.

       104. When Mr. Thomas began receiving Linebarger’s collection letters, he

was afraid of what might happen to him because he couldn’t pay. He was

particularly concerned his driver’s license could be taken away, because he relied




15
  The letter also seeks to collect $287.50 in court debt related to Case No. SMCR011436 and
$562.50 related to a 2018 assault case (Case No. SMCR012480).


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on his car to transport his children and to look for work. Linebarger’s threats

alarmed, confused, and distressed Mr. Thomas.

      105. Although Mr. Thomas now has full-time employment, he needs all the

money he makes at his job to cover rent, child support, and life necessities. He has

not been able to afford to make any payments towards the debt Linebarger is

collecting, despite being fearful that the enforcement actions Linebarger threatened

in its letters would be taken against him.

                           V.    CAUSES OF ACTION

                 CLAIM FOR RELIEF FOR VIOLATION OF
                        DUE PROCESS CLAUSE

                                 COUNT 1:
   Deprivation of Property without Due Process of Law in Violation of the
     Fourteenth Amendment to the U.S. Constitution (42 U.S.C. § 1983)
                     (on behalf of Brooke Champagne)

      106. Court debt is enforceable in Iowa only if a court has entered an order

or judgment requiring the defendant to pay the debt—and, until June 25, 2020,

only after determining that the defendant has the ability to pay that debt. See Iowa

Code § 910.2(1)(a)(2); State v. Gross, 935 N.W.2d 695, 702 (Iowa 2019). Unless it

has been reduced to a judgment, court debt may not lawfully be collected. State v.

Davis, 944 N.W.2d at 642.

      107. Linebarger, acting under color of law, in its official capacity, and

pursuant to statutory authority and its exclusive contract with the Iowa Judicial



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Branch, deprived Brooke Champagne of her interest in constitutionally-protected

property without due process of law when it collected money from her that had not

been ordered by a court as required by Iowa law.

       108. In Case No. SMCR009978, on October 6, 2015, the Humboldt County

District Court sentenced Ms. Champagne to pay court costs and court-appointed

attorney fees. After that debt was assigned to Linebarger, in February 2016, a

sheriff’s transportation fee of $474.70 and a mittimus fee of $15 were added to her

court debt. But the court never entered any judgment assessing those fees against

Ms. Champagne and ordering her to pay them. See ¶¶ 64–70, above.

       109. Had the court entered a judgment against Ms. Champagne for the fees,

she could have availed herself of the normal legal process by which a criminal

defendant may challenge or appeal a court judgment. See, e.g., State v. Olsen, 794

N.W.2d 285 (Iowa 2011). But without a court order, there is no process for a

defendant to challenge the imposition of costs or fees.16




16
  Under Iowa law in effect at the time, the Humboldt County District Court was also required to
determine that Ms. Champagne had the ability to pay the newly added fees before ordering her to
pay them. See Iowa Code § 910.2 (2019). Had the court held an ability-to-pay hearing, Ms.
Champagne would have had notice of the transportation fees and the opportunity to be heard on
them. She then could have demonstrated that she lacked the means to pay the fees. But no such
proceeding took place. Furthermore, there does not even appear to be a statutory basis for
ordering a defendant to reimburse the state for transportation fees as part of a criminal restitution
order in Iowa. See ¶ 22, above. Had the court entered an order, as was required by law, Ms.
Champagne could have challenged the imposition of the fees on both of these grounds.


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       110. Because no court ever entered a judgment ordering Ms. Champagne to

pay the sheriff’s transportation and mittimus fees, under Iowa law, Linebarger has

no authority to collect the debt.

       111. Linebarger is a law firm. Its debt collection work is performed by two

attorneys who are members of the Iowa State Bar who have access to the complete

court files and the Iowa Courts Online dockets of the individuals whose debt it

collects. By checking Ms. Champagne’s file or docket, a Linebarger attorney could

have determined with little effort that the sheriff’s transportation and mittimus fees

were added to Ms. Champagne’s debt after her case was resolved, without any

subsequent judgment by the court.

       112. Linebarger’s contract with the Iowa Judicial Branch expressly

provides that if “Linebarger is not satisfied that [a] debtor owes the debt,” the

company can request that the Judicial Branch “verify promptly the liability” and

“suspend any active collection activity” on the debtor’s account until it can

determine whether the relevant debt is legally owed and enforceable. Exhibit 1 at

14.

       113. Linebarger did not check Ms. Champagne’s case docket. It did not

request that the Judicial Branch verify whether the debt was legally owed. And it

did not suspend collection on the extrajudicial debt. Instead, Linebarger added

collection fees based on the two extrajudicial charges. It then sent Ms. Champagne


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a letter demanding a total “amount due” that includes the extrajudicial fees. In the

letter, Linebarger falsely claimed: “Court records indicate that the Court has

entered an order against” Ms. Champagne for “unpaid court fees and fines”

totaling $1,032.13—an amount that includes the $474.70 transportation fee and the

$15 mittimus fee. See ¶¶ 70–73, above.

      114. Linebarger has a custom or policy of collecting court debt from Iowa

defendants that no court has ordered them to pay. Due process requires that before

collecting court debt, Linebarger first verify the debt was in fact ordered by a court

as required by Iowa law.

      115. Linebarger threatened Ms. Champagne that she could be jailed or lose

her drivers’ license if she did not pay debts that she did not legally owe, that were

not enforceable, and that Linebarger had no authority to collect. As a result of

Linebarger’s false and misleading threats, Ms. Champagne was coerced into

making payments towards the debts. Linebarger’s letters thereby deprived Ms.

Champagne of her property without due process. Ms. Champagne also suffered

mental and emotional distress as a result of Linebarger’s threats. She seeks an

injunction barring Linebarger from collecting or seeking to collect court debt

without a court judgment. She is also entitled to compensatory damages and an

award of attorneys’ fees and costs.




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               CLAIMS FOR RELIEF FOR VIOLATIONS OF
             THE FAIR DEBT COLLECTION PRACTICES ACT

      116. The Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.

§ 1692a et seq., prohibits a debt collector that is collecting debt incurred primarily

for household or personal use from engaging in certain unfair debt collection

practices.

      117. Plaintiff Champagne is a “consumer” under the FDCPA because

Linebarger alleges that she was obligated to pay debt from appointed counsel fees

relating to cases in Des Moines, Humboldt, and Jasper County District Courts. 15

U.S.C. § 1692a(3).

      118. Plaintiff Thomas is a “consumer” under the FDCPA because

Linebarger alleges that he was obligated to pay debt from appointed counsel fees

relating to a case in Delaware County District Court. 15 U.S.C. § 1692a(3).

      119. Linebarger is a “debt collector” under the FDCPA because it uses the

mails in its business, the principal purpose of which is the collection of debt, and

because it regularly collects or attempts to collect, directly or indirectly, debt owed

or due another. 15 U.S.C. § 1692a(6).

      120. All debt collectors operating in Iowa that “collect” more than $55,800

in “consumer debts from Iowans” in a year must file a notification with the




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Attorney General of Iowa and pay a $50 annual fee.17 The fees paid by debt

collectors are used to “contribute to the cost of enforcing the Iowa Consumer

Credit Code.”18 In 2020, Linebarger paid the notification fee.19

       121. The appointed counsel fees that Linebarger alleges each Plaintiff owes

is a “debt” under the FDCPA because it is an alleged obligation to pay money

arising out of a transaction that was primarily for personal, family, or household

purposes. 15 U.S.C. § 1692a(5).

       122. Linebarger’s collection letters are “communication[s]” under the

FDCPA because Linebarger was conveying information regarding a debt directly

or indirectly to Champagne and Thomas. 15 U.S.C. § 1692a(2).

       123. Linebarger has violated several provisions of the FDCPA, as detailed

below. As a result of these violations, Plaintiffs are each entitled to statutory

damages in an amount up to $1,000.00. 15 U.S.C. § 1692k(a)(2)(A). Plaintiffs are

also entitled to actual damages under 15 U.S.C. § 1692k(a)(1) and to reasonable

attorneys’ fees and costs under 15 U.S.C. § 1692k(a)(3).




17
   Iowa Dept. of Justice, Office of the Attorney General, Debt Collector Notification, at
https://www.iowaattorneygeneral.gov/for-businesses/debt-collector-notification.
18
  Iowa Attorney General, FAQ for Debt Collectors, at https://www.iowaattorneygeneral.gov/for-
businesses/faq-for-debt-collectors-and-creditorsassignees.
19
   See Iowa Attorney General, 2020 Paid Debt Collectors and Creditors/Assignees 21, at
https://www.iowaattorneygeneral.gov/media/cms/Formatted_Spreadsheet_3DE52390AE035.pdf
(last updated June 4, 2020).


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                                     COUNT 2:
         False representation of character, amount, or legal status of debt
                       in violation of FDCPA § 1692e(2)(A)
              (on behalf of Brooke Champagne and Marico Thomas)

      124. The FDCPA prohibits a debt collector from “us[ing] any false,

deceptive, or misleading representation or means in connection with the collection

of any debt.” 15 U.S.C. § 1692e. Specifically, the Act bars debt collectors from

falsely representing the character, amount, or legal status of any debt. Id. at

§ 1692e(2)(A).

      125. Linebarger misrepresented the character and amount of Champagne’s

and Thomas’s debts when it failed to itemize each of their debts, including the

appointed counsel fees and collection fees, in the letters.

      126. Linebarger misrepresented the character of Ms. Champagne’s debt

related to her 2013 Jasper County Case (No. SMAC011891) by stating in letter no.

40860109 that she owed $363.96 in “unpaid court fines and fees,” when actually

twenty-five percent of the “amount due” Linebarger claimed she owed consisted of

Linebarger’s collection fees.

      127. Linebarger misrepresented the character of Ms. Champagne’s debt

related to her 2015 Humboldt County Case (No. SMCR009978) by stating that she

owed $1,032.13 in “unpaid court fines and fees,” when actually twenty-five

percent of the “amount due” Linebarger claimed she owed consisted of

Linebarger’s collection fees.


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      128. Linebarger misrepresented the character of Ms. Champagne’s debt

related to her 2016 Des Moines County Case (No. SMSM03870) by stating in

letter no. 40860109 that she owed $476.55 in “unpaid court fines and fees,” when

actually twenty-five percent of the “amount due” Linebarger claimed she owed

consisted of Linebarger’s collection fees.

      129. Linebarger misrepresented the legal status of Mr. Thomas’s debt

related to his 2016 Delaware County Case (No. SRCR011435), and used false and

misleading representations in connection with the collection of a debt, when it

stated in its letters to Mr. Thomas that “the Court has entered an order against you,

and you have unpaid court fees and fines . . . as listed below,” when, in fact, the

court had not entered an order against Mr. Thomas for some of the appointed

counsel fees Linebarger was attempting to collect.

      130. Linebarger also misrepresented the character of Mr. Thomas’s debt by

stating in the letters that he owed $1,013.96 in “unpaid court fines and fees,” when

actually twenty-five percent of the “amount due” Linebarger claimed he owed

consisted of Linebarger’s collection fees.




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                                    COUNT 3:
         Implying that nonpayment will result in arrest when such action is
                    unlawful in violation of FDCPA § 1692e(4)
              (on behalf of Brooke Champagne and Marico Thomas)

        131. The FDCPA prohibits a debt collector from implying that nonpayment

of a debt will result in the arrest or imprisonment of any person unless such action

is lawful. 15 U.S.C. § 1692e(4).

        132. Under Iowa law, contempt proceedings can lead to arrest and

imprisonment. See Iowa Code § 665.4. Linebarger threatened both Mr. Thomas

and Ms. Champagne with contempt, which violated FDCPA § 1692e(4) in two

ways.

        133. First, Linebarger threatened Mr. Thomas with contempt for non-

payment of debt from appointed counsel fees, when contempt proceedings cannot

lawfully be brought against a person for nonpayment of such fees where, as in Mr.

Thomas’s case, the debtor was not convicted of the underlying criminal charge.

        134. Most of the debt Linebarger is seeking to collect from Mr. Thomas

related to his 2016 dismissed assault charge (Case No. SRCR011435) consists of

appointed counsel fees ($711.84 of the $1,013.98 total). Linebarger’s letters to Mr.

Thomas state that if he does not pay this debt in full, “Iowa law authorizes . . .

contempt of court proceedings.” See ¶¶ 94, 100.

        135. In Iowa, contempt proceedings cannot lawfully be brought against a

person for nonpayment of appointed counsel fees where the debtor was not


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convicted of the underlying criminal charge. See Iowa Code § 815.9(7) (if counsel

fees are not paid within the time ordered by the court, a judgment shall be entered

which “may be enforced by the state in the same manner as a civil judgment”); id.

§ 626.1 (civil judgments “requiring the payment of money . . . are to be enforced

by execution”—not contempt); State v. Sluyter, 763 N.W.2d 575, 582 (Iowa 2009)

(contempt cannot be used to collect court costs from a criminal defendant who was

not convicted, because the cost judgment entered against him was “part of the fine

to be imposed as penalty for an offense” and thus “created a civil liability”)

(quoting LaRue v. Burns, 268 N.W.2d 639, 641 (Iowa 1978)).

      136. Furthermore, the Fourteenth Amendment’s Equal Protection Clause

prohibits the state—and private companies acting under color of state law—from

treating criminal defendants who owe attorney fees to the state for appointed

counsel more harshly than criminal defendants who owe attorney fees to private

lawyers. James v. Strange, 47 U.S. 128, 138 (1972). An ordinary civil judgment

debtor cannot be subjected to contempt proceedings, arrested, or imprisoned for

failure to pay a debt owed to a private attorney.

      137. Linebarger is seeking to collect $711.84 in appointed counsel from

Mr. Thomas arising from his 2016 assault charge (Case No. SRCR011435), which

was dismissed by the court. Accordingly, Iowa law does not—and could not—

authorize the use of contempt of court proceedings to collect that debt. Linebarger


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thus violated FDCPA § 1692e(4) when it stated in the letters sent to Mr. Thomas

that nonpayment of attorney fees could result in contempt proceedings.

      138. Second, Linebarger threatened both Mr. Thomas and Ms. Champagne

with contempt without informing them that under Iowa law and the Fourteenth

Amendment to the Constitution, a court may not lawfully imprison a criminal

defendant for nonpayment of debt unless the court first determines that the

defendant had the means to pay but willfully refused. See, e.g., Iowa Code § 909.5

(a person may be held in contempt for failing to pay court costs only if she “is able

to pay . . . and . . . refuses to do so”); Bearden v. Georgia, 461 U.S. 660, 672-73

(1983) (“[D]epriv[ing] [a] probationer of his conditional freedom simply because,

through no fault of his own, he cannot pay. . . would be contrary to the

fundamental fairness required by the Fourteenth Amendment.”).

      139. Linebarger’s letters to both Plaintiffs state that nonpayment of their

appointed counsel fees can result in contempt proceedings—and thus threaten

arrest and imprisonment—but fail to state that Plaintiffs cannot lawfully be

imprisoned for nonpayment if they truly cannot afford to pay. Linebarger’s threats

of contempt thus violated 15 U.S.C. § 1692e(4).




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                                      COUNT 4:
                  Threatening action that cannot lawfully be taken
                          in violation of FDCPA § 1692e(5)
               (on behalf of Brooke Champagne and Marico Thomas)

        140. The FDCPA prohibits a debt collector from threatening any action

that cannot legally be taken. 15 U.S.C. § 1692e(5).

        141. Linebarger’s letters to Plaintiffs misrepresent the legal implications

resulting from Plaintiffs’ nonpayment of the appointed counsel fees in at least three

ways.

        142. First, by threatening Mr. Thomas with contempt for nonpayment of

appointed counsel fees accrued on a charge for which he was not convicted (Case

No. SRCR011435), Linebarger threatened to take action that cannot be legally

taken in violation of § 1692e(5). As explained above, under Iowa law contempt

proceedings may not lawfully be used to collect appointed counsel fees from

defendants who were not convicted. See Count 3, ¶¶ 135–138, above.

        143. Second, by threatening both Plaintiffs with contempt for nonpayment

of appointed counsel fees without informing them that they could not be held in

contempt unless a court found their nonpayment was willful—i.e., that they had the

reasonable ability to pay the debt but refused—Linebarger threatened to take action

that cannot be legally taken, in violation of § 1692e(5). See Count 3, ¶¶ 138–138,

above.




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      144. Third, Linebarger’s letters to Plaintiffs state that nonpayment of the

debt could result in the “revocation” of their driver’s licenses. But under Iowa law,

the state may not revoke a debtor’s license for nonpayment of court debt. And

while the state can suspend a debtor’s license for nonpayment, that authority is

restricted to debt arising from specific driving-related offenses. Iowa Code

§ 321.210A (“The department shall suspend the driver’s license of a person who,

upon conviction of violating a law regulating the operation of a motor vehicle, has

failed to pay the criminal fine or penalty, surcharge, or court costs . . . .”)

(emphasis added). The state may not suspend a person’s motor vehicle license

under section 321.210A based on failure to repay court-appointed counsel fees

ordered as part of restitution. 1989 Iowa Op. Att’y Gen. 34 (1989).

      145. None of the debts Linebarger is seeking to collect from Mr. Thomas

and Ms. Champagne are related to driving offenses, and some of those debts are

for appointed counsel fees. Accordingly, Linebarger threatened to take action that

cannot be legally taken when it stated in the letters sent to Ms. Champagne and Mr.

Thomas that nonpayment of court debt could result in their licenses being revoked,

which is generally understood to be and is in fact a harsher sanction than

suspension.




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                                     COUNT 5:
       Using false representation or deceptive means to collect or attempt to
                collect any debt in violation of FDCPA § 1692e(10)
              (on behalf of Brooke Champagne and Marico Thomas)

      146. The FDCPA prohibits a debt collector from using any false

representation or deceptive means to collect or attempt to collect any debt. 15

U.S.C. § 1692e(10). Linebarger violated this provision in several ways.

      147. First, Linebarger used false representations or deceptive means to

collect or attempt to collect Plaintiffs’ debts when it failed to itemize each of their

debts, including the appointed counsel fees and collection fees, in the letters.

      148. Second, Linebarger used false representations or deceptive means to

collect or attempt to collect Plaintiffs’ debts when it stated in the letters that

Plaintiffs owed the specified amounts in “unpaid court fines and fees,” when

actually twenty-five percent of the amounts due Linebarger claimed they each

owed consisted of Linebarger’s collection fees.

      149. Third, Linebarger misrepresented the legal status of Mr. Thomas’s

debt related to his 2016 Delaware County Case, and used false and misleading

representations in connection with the collection of a debt, when it stated in its

letters to Mr. Thomas that “the Court has entered an order against you, and you

have unpaid court fees and fines . . . as listed below,” when, in fact, the court had

not entered an order against Mr. Thomas for some of the appointed counsel fees




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Linebarger was attempting to collect—and, in fact, those fees were contrary to a

court order. See ¶¶ 92–94, above.

      150. Fourth, Linebarger used false representations and deceptive means to

collect or attempt to collect Mr. Thomas’s debt when it stated in the letters that

nonpayment of attorney fees could result in contempt of court proceedings. See

Count 3, ¶¶ 132–137, above.

      151. Fifth, Linebarger used false representations and deceptive means to

collect or attempt to collect Plaintiffs’ debts when it stated in the letters that

nonpayment could result in contempt of court proceedings but failed to disclose

that contempt cannot be used if Plaintiffs were unable to pay. See Count 3, ¶¶ 138–

138, above.

      152. Sixth, Linebarger used false representations and deceptive means to

collect or attempt to collect Plaintiffs’ debts when it stated in the letters sent to

Champagne and Thomas that nonpayment of the debts could result in their licenses

being revoked. See Count 4, ¶ 142, above.

                                      COUNT 6:
                      Failure to provide required disclosures
                         in violation of FDCPA § 1692e(11)
               (on behalf of Brooke Champagne and Marico Thomas)

      153. The FDCPA requires a debt collector to disclose in the initial written

communication with the consumer that the debt collector is attempting to collect a

debt and that any information obtained will be used for that purpose. 15 U.S.C.


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§ 1692e(11). If the initial communication with the consumer is oral, the FDCPA

requires the debt collector to disclose in that initial oral communication that the

debt collector is attempting to collect a debt and that any information obtained will

be used for that purpose. Id.

      154. On information and belief, when Linebarger first contacted Ms.

Champagne and Mr. Thomas, the company failed to disclose that it was attempting

to collect a debt and that any information obtained would be used for that purpose,

in violation of 15 U.S.C. § 1692e(11).

      155. The FDCPA also requires debt collectors to disclose in all subsequent

communications with a debtor that the communication is from a debt collector. 15

U.S.C. § 1692e(11). Linebarger’s collection letters to Plaintiffs did not include that

mandated notice, in violation of the FDCPA.

                                    COUNT 7:
           Attempting to collect amounts not expressly permitted by law
                        in violation of FDCPA § 1692f(1)
                          (on behalf of Marico Thomas)

      156. The FDCPA prohibits a debt collector from “us[ing] unfair or

unconscionable means to collect or attempt to collect any debt,” 15 U.S.C. § 1692f,

including collecting “any amounts that are not expressly . . . permitted by law. Id.

at § 1692f(1). Linebarger violated this provision by seeking to collect appointed

counsel fees from Mr. Thomas that were assessed in violation of a court order.




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      157. When the Delaware County District Court dismissed Case No.

SRCR011435, the court ruled that Mr. Thomas would not be required to pay more

than $600 in appointed counsel fees. But despite that order—which is clearly

visible on the docket—a clerk added appointed counsel charges of $711.18. See

¶¶ 92–94, above.

      158. The clerk subsequently removed the additional charges in May 2020,

after being contacted by counsel, but Linebarger had already sent letters seeking to

collect amounts that included them.

      159. Court debt is enforceable in Iowa only if a court has entered an order

or judgment requiring the defendant to pay the debt. See Iowa Code

§ 910.2(1)(a)(2); State v. Gross, 935 N.W.2d 695, 702 (Iowa 2019). Unless it has

been reduced to a judgment, court debt may not lawfully be collected. State v.

Davis, 944 N.W.2d at 642. Furthermore, an obligation to reimburse the state for

appointed counsel fees is only effective if it is ordered by a court. See Iowa Code

§ 815.9(6) (if the person is acquitted, “the court shall order the payment of all or a

portion of the total costs and fees incurred for legal assistance, to the extent the

person is reasonably able to pay, after an inquiry which includes notice and

reasonable opportunity to be heard”).

      160. The additional counsel fee charges were imposed on Mr. Thomas in

violation of the court’s order, and therefore were not permitted by Iowa law, which


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provides that court debt is not valid or enforceable unless ordered by a court. By

seeking to collect those fees, Linebarger violated FDCPA § 1692f(1).

      161. All of the above described methods of debt collection are unfair or

unconscionable, in violation of 15 U.S.C. § 1692f.

                                      COUNT 8:
                Failure to provide required verification rights notice
                          in violation of FDCPA § 1692g(a)
               (on behalf of Brooke Champagne and Marico Thomas)

      The FDCPA requires that debt collectors provide debtors with written notice

of their rights to dispute the validity of the debt:

             Within five days after the initial communication with a consumer in
             connection with the collection of any debt, a debt collector shall,
             unless the following information is contained in the initial
             communication or the consumer has paid the debt, send the consumer
             a written notice containing:

             (1)    the amount of the debt;

             (2)    the name of the creditor to whom the debt is owed;

             (3)    a statement that unless the consumer, within thirty days after
                    receipt of the notice, disputes the validity of the debt, or any
                    portion thereof, the debt will be assumed to be valid by the debt
                    collector;

             (4)    a statement that if the consumer notifies the debt collector in
                    writing within the thirty-day period that the debt, or any portion
                    thereof, is disputed, the debt collector will obtain verification of
                    the debt or a copy of a judgment against the consumer and a
                    copy of such verification or judgment will be mailed to the
                    consumer by the debt collector; and

             (5)    a statement that, upon the consumer’s written request within the
                    thirty-day period, the debt collector will provide the consumer


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                    with the name and address of the original creditor, if different
                    from the current creditor.
15 U.S.C. § 1692g(a).

      162. On information and belief, Linebarger failed to provide these required

debt verification notices within five days of first contacting Ms. Champagne and

Mr. Thomas about their rights to dispute the validity of the debts Linebarger was

seeking to collect, in violation of 15 U.S.C. § 1692g(a).

              CLAIMS FOR RELIEF FOR VIOLATIONS OF
            THE IOWA DEBT COLLECTION PRACTICES ACT

      163. The Iowa Debt Collection Practices Act (IDCPA), Iowa Code

§ 537.7101 et seq., prohibits a debt collector from employing certain unfair debt

collection practices.

      164. A “consumer credit transaction” includes a “consumer credit sale[.]”

Iowa Code § 537.1301(12).

      165. A “consumer credit sale” is a sale of goods, services, or an interest in

land in which all of the following are applicable:

             (1)    Credit is granted either pursuant to a seller credit card or by a

                    seller who regularly engages as a seller in credit transactions of

                    the same kind;

             (2)    The buyer is a person other than an organization;




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             (3)    The goods, services or interest in land are purchased primarily

                    for a personal, family or household purpose;

             (4)    Either the debt is payable in installments or a finance charge is

                    made; and

             (5)    With respect to a sale of goods or services, the amount financed

                    does not exceed the threshold amount.

Iowa Code § 537.1301(13).

      166. A “debt” is defined under Iowa Code § 537.7102(3) as a consumer

credit transaction, or alternatively includes a transaction that would have been a

consumer credit transaction but for a lack of a financing charge or being payable in

installments—i.e., element (4) of a consumer credit sale, above.

      167. A “creditor” is “the person to whom a debtor is obligated, either

directly or indirectly, on a debt.” Id. at § 537.7102(2).

      168. A “debtor” is defined by the IDCPA as “the person obligated.” Id. at

§ 537.7102(6).

      169. The State of Iowa is a “creditor,” in that it is the entity to which Ms.

Champagne and Mr. Thomas are obligated on a debt.

      170. Ms. Champagne and Mr. Thomas are both “debtors,” as they are the

persons obligated to the state for that debt.




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        171. Each of the transactions at issue is a “debt” for the purposes of the

IDCPA, because:

              a. Credit was granted by the State of Iowa, which regularly engages

as in similar credit transactions;

              b. Both Ms. Champagne and Mr. Thomas are persons other than an

organization;

              c. The services—the payment of appointed counsel fees—were

primarily for a personal, family or household purpose;

              d. Each of the transactions were under the threshold amounts in

effect during the period the consumer credit transaction ($50,000-$55,800).

        172. Each of the transactions at issue is or would have been a consumer

credit transaction if the debt was payable in installments or a finance charge was

made.

        173. Linebarger is a “debt collector” under Iowa law because it engages,

directly or indirectly, in debt collection for others.

        174. Linebarger’s debt collection letters involve illegal threats, coercions

or attempts to coerce, in violation of Iowa Code § 537.7103. As a result of each of

Linebarger’s violations of the IDCPA, Plaintiffs are each entitled to actual

damages and statutory damages of $1,000.00. Iowa Code § 537.5201(1)(a).




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Plaintiffs are also entitled to reasonable attorneys’ fees under Iowa Code

§ 537.5201(8).

                                    COUNT 9:
     Attempting to collect a debt by means of a false threat that nonpayment
          may result in arrest in violation of IDCPA § 537.7103(1)(e)
            (on behalf of Brooke Champagne and Marico Thomas)

      175. The IDCPA prohibits a debt collector from collecting or attempting to

collect a debt by means of a “false threat that nonpayment of a debt may result in

the arrest of a person[.]” Iowa Code § 537.7103(1)(e).

      176. Linebarger violated the IDCPA when it stated in the letters that

Plaintiffs’ nonpayment of attorney fees could result in contempt of court

proceedings, which in Iowa can lead to arrest. Specifically, Linebarger threatened

Mr. Thomas with contempt for nonpayment of appointed counsel fees accrued on a

charge for which he was not convicted (Case No. SRCR011435) even though, as

explained above, Iowa law prohibits the use of contempt proceedings to collect

appointed counsel fees from defendants who were not convicted. See Count 3, ¶¶

132–137, above.

      177. In addition, Linebarger’s letters threatened both Plaintiffs with

contempt if they did not pay appointed counsel fees. As explained above, contempt

can lead to jail, and a debtor cannot lawfully be jailed for nonpayment unless a

court finds that her nonpayment was willful. See Count 3, ¶¶ 138–138, above.




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                                   COUNT 10:
   Attempting to collect a debt by threatening to take an action prohibited by
                  law in violation of IDCPA § 537.7103(1)(f)
            (on behalf of Brooke Champagne and Marico Thomas)

      178. The IDCPA prohibits a debt collector from collecting or attempting to

collect a debt by taking an action or threatening to take an action prohibited by

law. Iowa Code § 537.7103(1)(f).

      179. Linebarger threatened to take action prohibited by law when it stated

in the letters that Plaintiffs’ nonpayment of attorney fees could result in contempt

of court proceedings, which in Iowa can lead to arrest and jail.

      180. Specifically, Linebarger threatened Mr. Thomas with contempt for

nonpayment of appointed counsel fees accrued on a charge for which he was not

convicted (Case No. SRCR011435) even though, as explained above, Iowa law

prohibits the use of contempt proceedings to collect appointed counsel fees from

defendants who were not convicted. See Count 3, ¶¶ 132–137, above.

      181. In addition, Linebarger threatened both Plaintiffs with contempt for

nonpayment of appointed counsel fees even though, as explained above, Iowa law

prohibits the jailing of Plaintiffs for nonpayment unless a court has found their

nonpayment was willful. See Count 3, ¶¶ 138–138, above.

      182. Linebarger threatened to take action that cannot be legally taken when

it stated in the letter that Plaintiffs’ nonpayment of attorney fees could result in

their licenses being revoked. As explained above, under Iowa law, the state may


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only revoke a debtor’s license for nonpayment of debt related to specific driving-

related offenses. None of the debts Linebarger is seeking to collect from Mr.

Thomas and Ms. Champagne are related to driving offenses. See Count 3, ¶ 142,

above.

                                   COUNT 11:
      Attempting to collect a debt through intentional misrepresentation or
     representation which tends to create a false impression of the character,
        extent, or amount of a debt in violation of IDCPA § 537.7103(4)(e)
             (on behalf of Brooke Champagne and Marico Thomas)

      183. The IDCPA prohibits a debt collector from collecting or attempting to

collect a debt by through an intentional misrepresentation, or a representation

which tends to create a false impression of the character, extent or amount of a

debt, or of its status in a legal proceeding. Iowa Code § 537.7103(4)(e). Linebarger

violated this provision in several ways.

      184. First, Linebarger used intentional misrepresentation or a

representation which tends to create a false impression of the character, extent or

amount of a debt, or of its status in a legal proceeding, when Linebarger stated in

the letters that Mr. Thomas’s nonpayment of attorney fees could result in contempt

of court proceedings, which in Iowa can lead to arrest and jail.

      185. Specifically, Linebarger threatened Mr. Thomas with contempt for

nonpayment of appointed counsel fees accrued on a charge for which he was not

convicted (Case No. SRCR011435) even though, as explained above, Iowa law



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prohibits the use of contempt proceedings to collect appointed counsel fees from

defendants who were not convicted. See Count 3, ¶¶ 132–137, above.

      186. Second, Linebarger used intentional misrepresentation or a

representation which tends to create a false impression of the character, extent or

amount of a debt, or of its status in a legal proceeding, when Linebarger threatened

both Plaintiffs with contempt for nonpayment of appointed counsel fees even

though, as explained above, Iowa law prohibits the jailing of Plaintiffs for

nonpayment unless a court has found their nonpayment was willful. See Count 3,

¶¶ 138–138, above.

      187. Third, Linebarger used intentional misrepresentation or a

representation which tends to create a false impression of the character, extent or

amount of a debt, or of its status in a legal proceeding, when Linebarger stated in

the letter that Plaintiffs’ nonpayment of attorney fees could result in their licenses

being revoked. As explained above, under Iowa law, the state may only revoke a

debtor’s license for nonpayment of debt related to specific driving-related offenses.

None of the debts Linebarger is seeking to collect from Mr. Thomas and Ms.

Champagne are related to driving offenses. See Count 4, ¶ 142, above.

      188. Fourth, Linebarger used intentional misrepresentation or a

representation which tends to create a false impression of the character, extent or




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amount of a debt when it attempted to collect debt from Mr. Thomas that was not

ordered by the court. See Count 7, ¶¶ 157–159, above.

      189. Fifth, Linebarger used intentional misrepresentation or a

representation which tends to create a false impression of the character, extent or

amount of a debt when it failed to itemize Plaintiffs’ debts in the letters.

      190. Sixth, Linebarger used intentional misrepresentation or a

representation which tends to create a false impression of the character, extent or

amount of a debt related to Mr. Thomas’s 2016 Delaware County Case (No.

SRCR011435), and used false and misleading representations in connection with

the collection of a debt, when it stated in its letters to Mr. Thomas that “the Court

has entered an order against you, and you have unpaid court fees and fines . . . as

listed below,” when, in fact, the court had not entered an order against Mr. Thomas

for some of the appointed counsel fees Linebarger was attempting to collect.

      191. Seventh, Linebarger also misrepresented the character of Plaintiffs’

debts by stating in letters that they owed amount in “unpaid court fines and fees,”

when actually twenty-five percent of the “amount due” Linebarger claimed was

owed consisted of Linebarger’s collection fees. See Count 2, ¶¶ 125-127, 129.




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                         VI.    PRAYER FOR RELIEF

      WHEREFORE Plaintiffs pray for relief as follows:

      192. For an award of compensatory damages to Ms. Champagne in an

amount to be determined at trial under 42 U.S.C. § 1983;

      193. For injunctive relief barring Linebarger from collecting or seeking to

collect court debt from Ms. Champagne without a court judgment under 42 U.S.C.

§ 1983.

      194. For an award of actual damages to each Plaintiff in an amount to be

determined at trial under 15 U.S.C. § 1692k(a)(1) and Iowa Code

§ 537.5201(1)(a);

      195. For awards of statutory damages to each Plaintiff of $1,000.00 under

15 U.S.C. § 1692k(a)(2) and $1,000.00 under Iowa Code § 537.5201(1)(a);

      196. For an award of costs of litigation and reasonable attorneys’ fees

under 28 U.S.C. § 1920, 42 U.S.C. § 1988, 5 U.S.C. § 1692k(a)(3), Iowa Code

§ 537.5201(8), and any other applicable authority; and

      197. For such other and further relief as may be just and equitable.

                               VII. JURY DEMAND

      198. Plaintiff demands a trial by jury on all issues so triable.




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RESPECTFULLY SUBMITTED AND DATED this 1st day of September, 2020.

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